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             and Daniel Gericke



                                            UNITED STATES DISTRICT COURT

                                                    DISTRICT OF OREGON

                                                     PORTLAND DIVISION

             LOUJAIN HATHLOUL ALHATHLOUL,
                                                                 Case No. 3:21-CV-01787-IM
                              Plaintiff,
                                                                 SECOND DECLARATION OF RYAN
             vs.                                                 ADAMS

             DARKMATTER GROUP, MARC BAIER,
             RYAN ADAMS, and DANIEL GERICKE,

                              Defendants.




                                                                                                Snell & Wilmer
             SECOND DECLARATION OF RYAN ADAMS                                           1455 SW Broadway, Suite 1750
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                                             DECLARATION OF RYAN ADAMS

                      I, Ryan Adams, declare:

                      1.       I am a defendant in this action. I am over the age of 18. I make this declaration

             based on personal knowledge. If called upon to do so, I would testify truthfully as follows.

                      2.       I am not domiciled in Oregon.

                      3.       I have never resided in Oregon and do not consider it my home.

                      4.       I do not own real property in Oregon and never have.

                      5.       I do not have an Oregon driver’s license and never have.

                      6.       I am not an Oregon voter, nor have I ever been.

                      7.       My only connection to Oregon is that my wife’s family lives there.

                      8.       I am not a resident of any state, territory, protectorate, or other United States

             jurisdiction. I am domiciled in the Middle East and have been for approximately 13 years.

                      I declare under penalty of perjury under the laws of the United States of America that the
                                                             7/10/2023
             foregoing is true and correct. Executed on                      .




                                                                       Ryan Adams
             4887-9913-3806




                                                                                                     Snell & Wilmer
             Page 1 – SECOND DECLARATION OF RYAN ADAMS                                       1455 SW Broadway, Suite 1750
                                                                                                Portland, Oregon 97201
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